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AIM COm Alem Lancelaiar) (cela come (cia tiAvan LoL) bmx: Ee

Debtor 1 Shilo Dion Sanders

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: | DISTRICT OF COLORADO
Case number 23-14859

(if known) Check if this is an
amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

QO Married
H@ Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

O No
@ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

6215 Waterford Dr. From-To: D same as Debtor 1 CD same as Debtor 1
Jackson, MS 39211 2020-2021 From-To:

4032 Berkley Dr. From-To: D same as Debtor 4 O1 same as Debtor 1
Jackson, MS 39211 2021-2022 From-To:

2120 Junction Place 4116 From-To: D same as Debtor 1 D same as Debtor 1
Boulder, CO 80301 2022-2023 From-To:

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
States and temitories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

@ No
0 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

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Debtor 1

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Shilo Dion Sanders

Explain the Sources of Your Income

4.

From January 1 of current year until
the date you filed for bankruptcy:

Case number (if known)

23-14859

Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

O No
@ Yes. Fill in the details.

For last calendar year:

(January 1 to December 31, 2022 )

For the calendar year before that:
(January 1 to December 31, 2021 )

6.

Did you receive any other income during this year or the two previous calendar years?

Debtor 1

Sources of income
Check all that apply.

D Wages, commissions,
bonuses, tips

@ Operating a business

0 wages, commissions,
bonuses, tips

W Operating a business
OD Wages, commissions,
bonuses, tips

@ Operating a business

Gross income
(before deductions and
exclusions)

$193,713.00

$216,950.00

$17,360.00

Debtor 2

Sources of income
Check ail that apply.

OD Wages, commissions,
bonuses, tips

C Operating a business

0 Wages, commissions,
bonuses, tips

0 Operating a business

0 wages, commissions,
bonuses, tips

0 Operating a business

Gross income
(before deductions
and exclusions)

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery

winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

HM No
1 Yes. Fill in the details.

@ No.

Debtor 1
Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

individual primarily for a personal, family, or household purpose.”

Debtor 2
Sources of income
Describe below.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

B No.
0D Yes

Go to line 7.

Gross income
(before deductions
and exclusions)

List below each creditor to wnom you paid a total of $7,575* or more in one or more payments and the total amount you

paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

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Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor 1 Shilo Dion Sanders Case number (ifknown) 23-14859

0 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

0 No. Go to line 7.

O Yes _List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not

include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

M No

O Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

Include payments on debts guaranteed or cosigned by an insider.

HB No

O Yes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid stillowe — Include creditor's name

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

O No
H@ Yes. Fill in the details.

Case title Nature of the case Court or agency Status of the case
Case number
John Darjean v. Shilo Sanders Civil Dallas County District Court 0 Pending
DC-16-07371 D On appeal

M@ Concluded

10. Within 4 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

M No. Go to line 11.
O Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the

property
Explain what happened

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Debtor1 Shilo Dion Sanders Case number (ifknown) 23-14859

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?
H No
O Yes. Fill in the details.
Creditor Name and Address Describe the action the creditor took Date action was Amount
taken
12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?
® No
O Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
BH No

O Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts

Dates you gave Value
per person

the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
H No
O Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600

contributed
Charity’s Name
Address (Number, Street, City, State and ZIP Code)

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

or gambling?

@ No

O Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred Include the amount that insurance has paid. List pending  'SS lost

insurance claims on line 33 of Schedule A/B: Property.
List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
O No

@ Yes. Fill in the details.
Person Who Was Paid

Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made
Person Who Made the Payment, if Not You
Kutner Brinen Dickey Riley PC Attorney Fees and Filing Fees October 20, $7,838.00
1660 Lincoln Street, Suite 1720 2023

Denver, CO 80264
kir@kutnerlaw.com
Family Member

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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

M@ No

O Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment

made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

@ No

O Yes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

@ No
DD sYes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was
made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you fited for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

H No

O Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Code} moved, or transfer

transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

@ No

O Yes. Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

HM No
0 Yes. Fill in the details.
Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code} to it? have it?
Address (Number, Street, City,
State and ZIP Code)

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Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.

C1 No

MH Yes. Fill in the details.

Owner's Name Where is the property? Describe the property Value

Address (Number, Street, City, State and ZIP Code) body Street, City, State and ZIP

Saki Diamonds Saki Diamonds Necklaces and Chains loaned $75,000.00
to Debtors pursuant to NIL
Deal

Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report ail notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

HM No

O Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

M@ No
O Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

HM No
O Yes. Fill in the details.
Case Title . . Court or agency . Nature ofthe case. Status of the
Case Number ' Name ' case
Address (Number, Street, City,
State and ZIP Code)

Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
0 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
@ A member of a limited liability company (LLC) or limited liability partnership (LLP)
C1) A partner in a partnership
0 An officer, director, or managing executive of a corporation

DO An owner of at least 5% of the voting or equity securities of a corporation
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C1 No. None of the above applies. Go to Part 12.

@ Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code) Name of accountant or bookkeeper
Dates business existed
Big 21, LLC Services Company EIN: XX-XXXXXXX
1203 S. Duncanville Rd.
Cedar Hill, TX 75104 Jeff Sherman From-To 2021-Current
$S21, LLC Holding Company EIN:
3845 Tennyson St., STE 145
clo Redpoint Financial From-To 2021-Current

Denver, CO 80212-2107

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

MH No
O Yes. Fill in the details below.

Name Date Issued
Address
(Number, Street, City, State and ZIP Code)

use sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

isi Shilo Dion Sanders

Shilo Dion Sanders Signature of Debtor 2
Signature of Debtor 1

Date December 19, 2023 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No

D Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

Hi No

D Yes. Name of Person . Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

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